Case 5:05-cr-50030-JLH Document 119                 Filed 11/15/06 Page 1 of 2 PageID #: 265



                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
       v.                                       )            No. 05-50030 JLH
                                                )
ARWAH JABER                                     )

            FACTUAL AMENDMENT TO SENTENCING MEMORANDUM

       Defendant misspoke in the Sentencing Memorandum as to the time he was required to

spend at home, and he needs to clarify it before the hearing. Defendant called this to counsel’s

attention this morning (November 15, 2006), and we wanted the court to have it as soon as possi-

ble.

       The time stated in the Sentencing Memorandum is correct through November 2005 when

Judge Jones modified his conditions of release to permit the defendant out 3½ hours three days a

week; a total of 10½ hours a week. During that time period, defendant completed his Ph.D.

defense. This was through the start of the trial, and during the trial, defendant was obviously in

court and meeting with his lawyers at night. After the trial, it was changed to 6 a.m. to 10 p.m.

where it has remained.

                                                      Respectfully submitted,

                                                      /s/ John Wesley Hall, Jr.
                                                      JOHN WESLEY HALL , JR .
                                                        Ark. Bar No. 73047
                                                      PATRICK J. BENCA
                                                        Ark. Bar No. 99020
                                                      1311 Broadway
                                                      Little Rock, Arkansas 72202-4843
                                                      (501) 371-9131 / fax (501) 378-0888
                                                      e-mail: ForHall@aol.com

                                                       Attorneys for Defendant
Case 5:05-cr-50030-JLH Document 119             Filed 11/15/06 Page 2 of 2 PageID #: 266




                               CERTIFICATE OF SERVICE

     This document was e-filed and e-served through the court’s electronic filing system on
November 15, 2006.

                                                  /s/ John Wesley Hall, Jr.
                                                  John Wesley Hall, Jr.




                                            2
